           Case 3:13-cr-00370-DCG Document 436 Filed 10/06/21 Page 1 of 3



                                          United States District Court
                                           Western District of Texas
                                               El Paso Division

    United States of America,
           Plaintiff,

    v.                                                                 No. EP-13-CR-370(1)-DCG

    Marco Antonio Delgado,
          Defendant.

Plaintiff’s Redacted Motion to Confirm Sale of Personal Property and Motion to Distribute
                                        Proceeds

          Among the personal property foreclosed on by the Plaintiff is a Harley motorcycle. 1 The

foreclosed personal property is in the possession of the Receiver, Dan Olivas. The fair market

retail value of the motorcycle is $6,185.00 pursuant to Kelley Blue Book, with a wholesale value

of $5,500.00. The Receiver initially listed the motorcycle for sale online at $7,500.00. After no

offers were received at this price, the Receiver lowered the price to $7,000.00.                  Ultimately, only

one offer was made for the motorcycle, for $5,500.00, which the Receiver accepted. The

purchaser, J               W         of Terlingua, Texas 2 is a disinterested third-party with no affiliation

with the Receiver and the transaction was arms-length.

          The Receiver has continued to incur carrying costs for maintaining the real property located

at 1109 Cerrito Feliz. The Receiver and the United States are continuing to work through issues

with the title company to ensure that good, marketable title is conveyed to the purchaser. In light

of these costs, the United States requests that the proceeds be applied towards the existing costs,

and the remainder to be escrowed and used to satisfy future anticipated expenditures.

          Finally, the Receiver is not in possession of the title for the Harley. Accordingly, the



1
 (Doc. No. 412).
2
 Given the nature of the Defendant’s offenses, the buyer wishes to remain confidential. Accordingly, the United
States is filing this motion as redacted. The United States has also filed this motion in sealed and unredacted form
with the Court.
          Case 3:13-cr-00370-DCG Document 436 Filed 10/06/21 Page 2 of 3




United States requests that the Court direct the Texas Department of Motor Vehicles be directed

to issue title to the purchaser. 3

        WHEREFORE, the United States of America requests an order of this Court confirming

the sale of the Harley motorcycle and to distribute the proceeds of the sale to the Receiver to defray

the costs incurred with respect to 1109 Cerrito Feliz and to ensure payment of future expenditures.


                                                             Respectfully submitted,

                                                             ASHLEY C. HOFF
                                                             United States Attorney

                                                      By: /s/ Steven E. Seward
                                                          STEVEN E. SEWARD
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                                                             ATTORNEY FOR UNITED STATES




3
  The United States has conferred with counsel for the DMV concerning this request, and they have approved the
language in the Order.

                                                        2
         Case 3:13-cr-00370-DCG Document 436 Filed 10/06/21 Page 3 of 3




                                       Certificate of Service

        I hereby certify that a true and correct copy of the foregoing motion was electronically filed
via the Court’s CM/ECF system and served via United States Postal Service on non-ECF
participants on this 6th day of October, 2021 to the following:

        Marco Antonio Delgado                         Brandon Sample PLC
        Reg No. 06804-380                             1701 Pennsylvania Avenue, N.W. #200
        FCI Loretto                                   Washington, DC 20006-5823
        P.O. Box 1000                                 Attorney for Defendant
        Loretto, PA 15940
        Defendant


                                                          /s/ Steven E. Seward
                                                          STEVEN E. SEWARD
                                                          Assistant United States Attorney




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